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    9
        Attorneys for Defendant/Counterclaimant, DIGITAL GADGETS, LLC
   10

   11                            UNITED STATES DISTRICT COURT
   12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   13
        Interworks Unlimited, Inc., a          Case No. 2:17-cv-4983 TJH (KSx)
   14   California corporation,
                                               DECLARATION OF HARLAN M.
   15               Plaintiff,                 LAZARUS IN SUPPORT OF
                                               OPPOSITION TO PLAINTIFF’S
   16         v.                               MOTION FOR SUMMARY
                                               JUDGMENT
   17   Digital Gadgets, LLC., a New Jersey
        limited liability company,
   18                                         Date: January 7, 2019
                    Defendant.                Time: Under Submission
   19                                         Courtroom: 9B
   20   Digital Gadgets, LLC, a New Jersey
        limited liability company,
   21
                    Counterclaimant,
   22
              v.
   23
        Interworks Unlimited, Inc., a
   24   California corporation,
   25               Counter-defendant.
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DECL. OF HARLAN LAZARUS IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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    1   1. I am counsel for Defendant in this matter and have personal knowledge of the facts
    2      set forth herein.
    3   2. Attached herewith as Exhibit 1 is a true and correct copy of a Certified UCC
    4      Search which my law firm obtained from the Secretaries of State for California and
    5      New York.
    6   3. Attached herewith as Exhibit 2 is a true and correct copy of the Master Purchase
    7      and Sale Agreement between Bibby Financial Services, Inc. and Interworks
    8      Unlimited, Inc. which was produced in discovery in this case.
    9   4. Attached herewith as Exhibit 3 is a true and correct copy of the Bibby Financial
   10      Services, Inc., UCC Financing Statement and Amendments which was produced in
   11      discovery in this case.
   12   5. Attached herewith as Exhibit 4 is a true and correct copy of the Agreement for the
   13      Purchase and Sale of Future Receipts between Cash Capital Group, LLC and
   14      Interworks Unlimited, Inc. which was produced in discovery in this case.
   15   6. Attached herewith as Exhibit 5 is a true and correct copy of the Cash Capital
   16      Group, LLC Financing Statement and Termination Statement which was produced
   17      in discovery in this case.
   18   7. Attached herewith as Exhibit 6 is a true and correct copy of the Letter to Digital
   19      Gadgets, LLC from Cash Capital Group, LLC’s attorney Rubin Law Firm which
   20      was produced in discovery in this case.
   21   8. Attached herewith as Exhibit 7 is a true and correct copy of the Deposition
   22      Transcript of Eric Lu in this case.
   23   9. Attached herewith as Exhibit 8 is a true and correct copy of email correspondences
   24      between Defendant and Plaintiff which was produced in discovery in this case.
   25   10. Attached herewith as Exhibit 9 is a true and correct copy of correspondence from
   26      QVC, Inc. to Defendant, June 1, 2017 which was produced in discovery in this
   27      case.
   28   11. Attached herewith as Exhibit 10 is a true and correct copy of the Deposition
                                                     2
DECL. OF HARLAN LAZARUS IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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    1      transcript of Charles Tebele, authorized representative of Defendant which was
    2      produced in discovery in this case.
    3   12.Attached herewith as Exhibit 11 is a true and correct copy of T34764 QVC, Inc.
    4      Quality Assurance Report which was produced in discovery in this case.
    5   13. Attached herewith as Exhibit 12 is a true and correct copy of Email
    6      correspondence from Eric Lu to Chris Mitchell May 10, 2017 which was produced
    7      in discovery in this case.
    8   14. Attached herewith as Exhibit 13 is a true and correct copy of Email
    9      correspondence from Chris Mitchell to Eric Lu, May 15, 2017 which was produced
   10      in discovery in this case.
   11   15.Attached herewith as Exhibit 14 is a true and correct copy of Email
   12      correspondence between Plaintiff and Defendant, dated June 7, 2017 which was
   13      produced in discovery in this case.
   14   16.Attached herewith as Exhibit 15 is a true and correct copy of Email
   15      correspondence between QVC and Defendant, dated June 30, 2017 which was
   16      produced in discovery in this case.
   17   17.Attached herewith as Exhibit 16 is a true and correct copy of Deposition Transcript
   18      of Meghan Kane, Account Manager for Performance Marketing of QVC, with
   19      redacted pursuant to a protective order issued by the United States District Court
   20      for the Eastern District of Pennsylvania.
   21   18.Attached herewith as Exhibit 17 is a true and correct copy of Email
   22      correspondence between Plaintiff and Defendant, dated March 1, 2017 which was
   23      produced in discovery in this case.
   24   19.Attached herewith as Exhibit 18 is a true and correct copy of Spreadsheet produced
   25      by QVC showing sales of hoverboards, redacted pursuant to a protective order
   26      issued by the United States District Court for the Eastern District of Pennsylvania
   27      which was produced in discovery in this case.
   28   20. Attached herewith as Exhibit 19 is a true and correct copy of First T35011 QVC
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DECL. OF HARLAN LAZARUS IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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    1      Quality Assurance Report which was produced in discovery in this case.
    2   21. Attached herewith as Exhibit 20 is a true and correct copy of Second T35011
    3      QVC Quality Assurance Report which was produced in discovery in this case.
    4   22. Attached herewith as Exhibit 21 is a true and correct copy of Email
    5      Correspondence between Defendant and Plaintiff which was produced in discovery
    6      in this case.
    7   23. Attached herewith as Exhibit 22 is a true and correct copy of First Order Bill of
    8      Lading which was produced in discovery in this case.
    9   24. Attached herewith as Exhibit 23 is a true and correct copy of Second Order
   10      Purchase Order which was produced in discovery in this case.
   11   25. Attached herewith as Exhibit 24 is a true and correct copy of Second Order Bill of
   12      Lading which was produced in discovery in this case.
   13   26.Attached herewith as Exhibit 25 is a true and correct copy of a protective order
   14      approved by the United States District Court for the Eastern District of
   15      Pennsylvania.
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   18   Dated: December 10, 2018                       LAZARUS AND LAZARUS, P.C.
   19
                                                       By: /s/ Harlan M. Lazarus
   20                                                      HARLAN M. LAZARUS, ESQ.
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                                                       Attorneys for Defendant/Counter-
                                                       claimant, DIGITAL GADGETS, LLC
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DECL. OF HARLAN LAZARUS IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
